     Case 2:21-cr-00203-ODW Document 72 Filed 09/23/21 Page 1 of 11 Page ID #:354



 1   TRACY L. WILKISON
     Acting United States Attorney
 2   CHRISTOPHER D. GRIGG
     Assistant United States Attorney
 3   Chief, Criminal Division
     KHALDOUN SHOBAKI (Cal. Bar No. 232864)
 4   Assistant United States Attorney
     Deputy Chief, Cyber & I.P. Crimes Section
 5        1500 United States Courthouse
          312 North Spring Street
 6        Los Angeles, California 90012
          Telephone: (213) 894-0759
 7        Facsimile: (213) 894-2927
          E-mail:    khaldoun.shobaki@usdoj.gov
 8
     Attorneys for Plaintiff
 9   UNITED STATES OF AMERICA

10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. 2:21-CR-00203-ODW

13              Plaintiff,                   STIPULATION AND JOINT REQUEST FOR
                                             A PROTECTIVE ORDER REGARDING
14              v.                           DISCOVERY CONTAINING PERSONAL
                                             IDENTIFYING INFORMATION AND
15   ABDULRAHMAN IMRAAN JUMA,                PRIVACY ACT INFORMATION
       aka “Abdul,”
16     aka “Rahman,”                         PROPOSED ORDER FILED SEPARATELY
     KELLY CHIBUZO VINCENT,
17     aka “Vincent Kelly
          Chibuzo,”
18   ABBA ALHAJI KYARI,
     RUKAYAT MOTUNRAYA FASHOLA,
19     aka “Morayo,”
     BOLATITO TAWAKALITU
20      AGBABIAKA,
       aka “Bolamide,”
21   YUSUF ADEKINKA ANIFOWOSHE,
       aka “AJ,”
22     aka “Alvin Johnson,”

23              Defendants.

24

25         Plaintiff, United States of America, by and through its counsel

26   of record, the Acting United States Attorney for the Central

27   District of California and Assistant United States Attorney Khaldoun

28   Shobaki, and defendant Rukuyat Motunraya Fashola (“Fashola”), by and
     Case 2:21-cr-00203-ODW Document 72 Filed 09/23/21 Page 2 of 11 Page ID #:355



 1   through her counsel of record, Edward M. Robinson, defendant

 2   Bolatito Tawakalitu Agbabiaka (“Agbabiaka”), by and through her

 3   counsel of record, Daniel A. Nardoni, and defendant Yusuf Adekinka

 4   Anifowoshe (“Anifowoshe”), by and through his counsel of record,

 5   Deputy Federal Public Defender Lakeshia Monique Dorsey (collectively

 6   the “parties”), for the reasons set forth below, request that the

 7   Court enter the proposed protective order (the “Protective Order”)

 8   governing the use and dissemination of (1) personal identifying

 9   information (“PII”) of real persons pursuant to Federal Rule of

10   Criminal Procedure Rule 16(d)(1).

11         Introduction and Grounds for Protective Order

12         1.   Defendants are charged in this matter with violations of

13   18 U.S.C. § 1349 (Conspiracy to Commit Wire Fraud); § 1956(h)

14   (Conspiracy to Engage in Money Laundering); and § 1028A(a)(1)

15   (Aggravated Identity Theft).       Defendants are released on bond

16   pending trial.

17         2.   A protective order is necessary because the government

18   intends to produce to the defense materials containing third

19   parties’ PII.    The government believes that disclosure of this

20   information without limitation risks the privacy and security of the

21   information’s legitimate owners.       Because the government has an

22   ongoing obligation to protect third parties’ PII, the government

23   cannot produce to defendant an unredacted set of discovery

24   containing this information without the Court entering the

25   Protective Order.     Moreover, the PII in many instances has

26   evidentiary value.     If the government were to attempt to redact this

27   information in strict compliance with Federal Rule of Criminal

28   Procedure 49.1, the Central District of California’s Local Rules

                                            2
     Case 2:21-cr-00203-ODW Document 72 Filed 09/23/21 Page 3 of 11 Page ID #:356



 1   regarding redaction, and the Privacy Policy of the United States

 2   Judicial Conference, the defense would receive a set of discovery

 3   that would be highly confusing and difficult to understand, and it

 4   would be challenging for defense counsel to adequately evaluate the

 5   case, provide advice to defendant, or prepare for trial.

 6         3.   An order is also necessary because the government intends

 7   to produce to the defense materials that may contain information

 8   within the scope of the Privacy Act, 5 U.S.C. § 552a (“Privacy Act

 9   Information”).    To the extent that these materials contain Privacy

10   Act Information, an order is necessary to authorize disclosure

11   pursuant to 5 U.S.C. § 552a(b)(11).

12         4.   The purpose of the Protective Order is to (a) allow the

13   government to comply with its discovery obligations while protecting

14   this sensitive information from unauthorized dissemination, and

15   (b) provide the defense with sufficient information to adequately

16   represent defendants.

17         Definitions

18         5.   The parties agree to the following definitions:

19              a.    “PII Materials” includes any information that can be

20   used to identify a person, including a name, address, date of birth,

21   Social Security number, driver’s license number, telephone number,

22   account number, email address, or personal identification number.

23              b.    “Defense Team” for each defendant includes

24   (1) defendant’s counsel of record (“defense counsel”); (2) other

25   attorneys at defense counsel’s law firm who may be consulted

26   regarding case strategy in this case; (3) defense investigators who

27   are assisting defense counsel with this case; (4) retained experts

28   or potential experts; and (5) paralegals, legal assistants, and

                                            3
     Case 2:21-cr-00203-ODW Document 72 Filed 09/23/21 Page 4 of 11 Page ID #:357



 1   other support staff to defense counsel who are providing assistance

 2   on this case.     The Defense Team does not include defendant,

 3   defendant’s family members, or any other associates of defendant.

 4                c.   “Confidential Information” refers to any document or

 5   information containing PII Materials or Privacy Act Information that

 6   the government designates pursuant to the proposed Protective Order

 7   and produces to the defense.

 8         Terms of the Protective Order

 9         6.     The parties jointly request the Court enter the Protective

10   Order, which will permit the government to produce Confidential

11   Information in a manner that preserves the privacy and security of

12   third parties.    The parties agree that the following conditions in

13   the Protective Order will serve these interests:

14                a.   The government is authorized to provide defense

15   counsel with Confidential Information marked with the following

16   legend: “CONFIDENTIAL INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE

17   ORDER.”    The government may put that legend on the digital medium

18   (such as DVD or hard drive) or simply label a digital folder on the

19   digital medium to cover the content of that digital folder.            The

20   government may also redact any PII contained in the production of

21   Confidential Information.      Defendant Anifowoshe objects to this

22   provision.

23                b.   If defendant objects to a designation that material

24   contains Confidential Information, the parties shall meet and

25   confer.    If the parties cannot reach an agreement regarding

26   defendant’s objection, defendant may apply to the Court to have the

27   designation removed.

28

                                            4
     Case 2:21-cr-00203-ODW Document 72 Filed 09/23/21 Page 5 of 11 Page ID #:358



 1                c.   Defendant and the Defense Team agree to use the

 2   Confidential Information solely to prepare for any pretrial motions,

 3   plea negotiations, trial, and sentencing hearing in this case, as

 4   well as any appellate and post-conviction proceedings related to

 5   this case.

 6                d.   The Defense Team shall not permit anyone other than

 7   the Defense Team to have possession of Confidential Information,

 8   including defendant, while outside the presence of the Defense Team.

 9                e.   Defendant may review PII Materials only in the

10   presence of a member of the Defense Team, who shall ensure that

11   defendant is never left alone with any PII Materials.           At the

12   conclusion of any meeting with defendant at which defendant is

13   permitted to view PII Materials, defendant must return any PII

14   Materials to the Defense Team, and the member of the Defense Team

15   present shall take all such materials with him or her.           Defendant

16   may not take any PII Materials out of the room in which defendant is

17   meeting with the Defense Team.

18                f.   Defendant may see and review Confidential Information

19   as permitted by this Protective Order, but defendant may not copy,

20   keep, maintain, or otherwise possess any Confidential Information in

21   this case at any time.      Defendant also may not write down or

22   memorialize any data or information contained in the Confidential

23   Information.

24                g.   The Defense Team may review Confidential Information

25   with a witness or potential witness in this case, including

26   defendant.    A member of the Defense Team must be present if PII

27   Materials are being shown to a witness or potential witness.             Before

28   being shown any portion of Confidential Information, however, any

                                            5
     Case 2:21-cr-00203-ODW Document 72 Filed 09/23/21 Page 6 of 11 Page ID #:359



 1   witness or potential witness must be informed of the requirements of

 2   the Protective Order.     No member of the Defense Team shall permit a

 3   witness or potential witness to retain Confidential Information or

 4   any notes generated from Confidential Information.

 5              h.    The Defense Team shall maintain Confidential

 6   Information safely and securely, and shall exercise reasonable care

 7   in ensuring the confidentiality of those materials by (1) not

 8   permitting anyone other than members of the Defense Team, defendant,

 9   witnesses, and potential witnesses, as restricted above, to see

10   Confidential Information; (2) not divulging to anyone other than

11   members of the Defense Team, defendant, witnesses, and potential

12   witnesses, the contents of Confidential Information; and (3) not

13   permitting Confidential Information to be outside the Defense Team’s

14   offices, homes, vehicles, or personal presence.

15              i.    To the extent that defendant, the Defense Team,

16   witnesses, or potential witnesses create notes that contain, in

17   whole or in part, Confidential Information, or to the extent that

18   copies are made for authorized use by members of the Defense Team,

19   such notes, copies, or reproductions become Confidential Information

20   subject to the Protective Order and must be handled in accordance

21   with the terms of the Protective Order.

22              j.    The Defense Team shall use Confidential Information

23   only for the litigation of this matter and for no other purpose.

24   Litigation of this matter includes any appeal filed by defendant and

25   any motion filed by defendant pursuant to 28 U.S.C. § 2255.            In the

26   event that a party needs to file Confidential Information with the

27   Court or divulge the contents of Confidential Information in court

28   filings, the filing should be made under seal.         If the Court rejects

                                            6
     Case 2:21-cr-00203-ODW Document 72 Filed 09/23/21 Page 7 of 11 Page ID #:360



 1   the request to file such information under seal, the party seeking

 2   to file such information publicly shall provide advance written

 3   notice to the other party to afford such party an opportunity to

 4   object or otherwise respond to such intention.         If the other party

 5   does not object to the proposed filing, the party seeking to file

 6   such information shall redact any PII Materials and make all

 7   reasonable attempts to limit the divulging of PII Materials.

 8              k.    The parties agree that any Confidential Information

 9   inadvertently produced in the course of discovery prior to entry of

10   the Protective Order shall be subject to the terms of the Protective

11   Order.   If Confidential Information was inadvertently produced prior

12   to entry of the Protective Order without being marked “CONFIDENTIAL

13   INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE ORDER,” the government

14   shall reproduce the material with the correct designation and notify

15   defense counsel of the error.       The Defense Team shall take immediate

16   steps to destroy the unmarked material, including any copies.

17              l.    Confidential Information shall not be used by the

18   defendant or Defense Team, in any way, in any other matter, absent

19   an order by this Court.      All materials designated subject to the

20   Protective Order maintained in the Defense Team’s files shall remain

21   subject to the Protective Order unless and until such order is

22   modified by this Court.      Within 30 days of the conclusion of

23   appellate and post-conviction proceedings, defense counsel shall

24   return all PII Materials, certify that such materials have been

25   destroyed, or certify that such materials are being kept pursuant to

26   the California Business and Professions Code and the California

27   Rules of Professional Conduct.

28

                                            7
     Case 2:21-cr-00203-ODW Document 72 Filed 09/23/21 Page 8 of 11 Page ID #:361



 1              m.    In the event that there is a substitution of counsel

 2   prior to when such documents must be returned, new defense counsel

 3   must be informed of, and agree in writing to be bound by, the

 4   requirements of the Protective Order before the undersigned defense

 5   counsel transfers any Confidential Information to the new defense

 6   counsel.   New defense counsel’s written agreement to be bound by the

 7   terms of the Protective Order must be returned to the Assistant U.S.

 8   Attorney assigned to the case.       New defense counsel then will become

 9   the Defense Team’s custodian of materials designated subject to the

10   Protective Order and shall then become responsible, upon the

11   conclusion of appellate and post-conviction proceedings, for

12   returning to the government, certifying the destruction of, or

13   retaining pursuant to the California Business and Professions Code

14   and the California Rules of Professional Conduct all PII Materials.

15              n.    Defense counsel agrees to advise defendant and all

16   members of the Defense Team of their obligations under the

17   Protective Order and ensure their agreement to follow the Protective

18   Order, prior to providing defendant and members of the Defense Team

19   with access to any materials subject to the Protective Order.

20              o.    Defense Counsel has conferred with defendant

21   regarding this stipulation and the proposed order thereon, and

22   defendant agrees to the terms of the proposed order.

23   //

24   //

25   //

26   //

27   //

28   //

                                            8
     Case 2:21-cr-00203-ODW Document 72 Filed 09/23/21 Page 9 of 11 Page ID #:362



 1              p.    Accordingly, the parties have agreed to request that

 2   the Court enter a protective order in the form submitted herewith.

 3         IT IS SO STIPULATED.

 4         DATED: September 23, 2021            TRACY L. WILKISON
                                                Acting United States Attorney
 5
                                                CHRISTOPHER D. GRIGG
 6
                                                Assistant United States Attorney
 7                                              Chief, National Security Division

 8
                                                _______________________________
 9                                              KHALDOUN SHOBAKI
                                                Assistant United States Attorney
10

11                                              Attorneys for Plaintiff
                                                UNITED STATES OF AMERICA
12

13         DATED: __Sept. 22, 2021__________________________________
                                         EDWARD M. ROBINSON
14                                       Attorney for Defendant
                                         RUKUYAT MOTUNRAYA FASHOLA
15

16

17         DATED: _________                     ___________________________
                                                DANIEL A. NARDONI
18                                              Attorney for Defendant
                                                BOLATITO TAWAKALITU AGBABIAKA
19

20         DATED: _________                     ___________________________
                                                LAKESHIA MONIQUE DORSEY
21                                              Attorney for Defendant
                                                YUSUF ADEKINKA ANIFOWOSHE
22

23

24

25

26

27

28

                                            9
     Case 2:21-cr-00203-ODW Document 72 Filed 09/23/21 Page 10 of 11 Page ID #:363



 1               p.    Accordingly, the parties have agreed to request that

 2   the Court enter a protective order in the form submitted herewith.

 3         IT IS SO STIPULATED.

 4         DATED: September __, 2021             TRACY L. WILKISON
                                                 Acting United States Attorney
 5
                                                 CHRISTOPHER D. GRIGG
 6
                                                 Assistant United States Attorney
 7                                               Chief, National Security Division

 8
                                                 _______________________________
 9                                               KHALDOUN SHOBAKI
                                                 Assistant United States Attorney
10

11                                               Attorneys for Plaintiff
                                                 UNITED STATES OF AMERICA
12

13         DATED: _________                      ___________________________
                                                 EDWARD M. ROBINSON
14                                               Attorney for Defendant
                                                 RUKUYAT MOTUNRAYA FASHOLA
15

16

17                09/22/2021
           DATED: _________                      ___________________________
                                                 DANIEL A. NARDONI
18                                               Attorney for Defendant
                                                 BOLATITO TAWAKALITU AGBABIAKA
19

20         DATED: _________                      ___________________________
                                                 LAKESHIA MONIQUE DORSEY
21                                               Attorney for Defendant
                                                 YUSUF ADEKINKA ANIFOWOSHE
22

23

24

25

26

27

28

                                             9
     Case 2:21-cr-00203-ODW Document 72 Filed 09/23/21 Page 11 of 11 Page ID #:364



 1               p.    Accordingly, the parties have agreed to request that

 2   the Court enter a protective order in the form submitted herewith.

 3         IT IS SO STIPULATED.

 4         DATED: September __, 2021          TRACY L. WILKISON
                                              Acting United States Attorney
 5
                                              CHRISTOPHER D. GRIGG
 6
                                              Assistant United States Attorney
 7                                            Chief, National Security Division

 8
                                              _______________________________
 9                                            KHALDOUN SHOBAKI
                                              Assistant United States Attorney
10

11                                            Attorneys for Plaintiff
                                              UNITED STATES OF AMERICA
12

13         DATED: _________                   ___________________________
                                              EDWARD M. ROBINSON
14                                            Attorney for Defendant
                                              RUKUYAT MOTUNRAYA FASHOLA
15

16

17         DATED: _________                   ___________________________
                                              DANIEL A. NARDONI
18                                            Attorney for Defendant
                                              BOLATITO TAWAKALITU AGBABIAKA
19

20                9/23/2021
           DATED: _________                   ___________________________
                                              LAKESHIA MONIQUE DORSEY
21                                            Attorney for Defendant
                                              YUSUF ADEKINKA ANIFOWOSHE
22

23

24

25

26

27

28

                                            10
